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 5
 6                                  UNITED STATES DISTRICT COURT

 7                                        DISTRICT OF NEVADA

 8                                                    ***

 9 UNITED STATES OF AMERICA,           )
                                       )
10             Plaintiff,              )
                                       )
11 v.                                  )                            2:12-cr-00452-4-JAD-VCF
                                       )
12 HENCOK   KEFFELEW,                  )
                                       )
13             Defendant.              )                            ORDER
   ____________________________________)
14
15          Before this Court was Defendant’s Sealed Ex Parte Motion to Withdraw and Appointment

16 of New Counsel. ECF 167. Upon review of the motion and with good cause appearing, the
17 court granted the motion. ECF 168.
18          Accordingly, IT IS HEREBY ORDERED that David T. Brown, Esq. is APPOINTED as
   counsel for
19 counsel  for Jencok
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                                                theFederal
                                                    FederalPublic
                                                            PublicDefender
                                                                   Defenderfor
                                                                             forallallfuture
                                                                                        futureproceedings.
                                                                                               proceedings.

20          The Federal Public Defender is directed to forward the file to Mr. Brown immediately.

21                  DATED this 28th day of January 2016.
                    Nunc Pro Tunc to December 16, 2015.
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